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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

UNITED THERAPEUTICS                                  )
CORPORATION,                                         )
                                                     )
                          Plaintiff,                 )
                                                     )
       v.                                            ) C.A. No. 20-755 (RGA)
                                                     )
LIQUIDIA TECHNOLOGIES, INC.,                         )
                                                     )
                          Defendant.                 )

                                       SCHEDULING ORDER

             31 day of ________,
       This __          July     2020, the Court having conducted an initial Rule 16(b)

scheduling conference pursuant to Local Rule 16.1(b), and the parties having determined after

discussion that the matter cannot be resolved at this juncture by settlement, voluntary mediation,

or binding arbitration;

       IT IS ORDERED that:

       1.      Rule 26(a)(l) Initial Disclosures. Unless otherwise agreed to by the parties, the

parties shall make their initial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(l) on

or before August 14, 2020.

       2.      Joinder of Other Parties and Amendment of Pleadings. All motions to join other

parties, and to amend or supplement the pleadings, shall be filed on or before June 4, 2021.

       3.      Discovery.

               a.         Discovery Cut Off. All fact discovery in this case shall be initiated so that

it will be completed on or before September 17, 2021.

               b.         Document production.       Document production shall be substantially

complete by June 18, 2021.
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               c.      Requests for Admission. A maximum of 40 requests for admission are

permitted for each side. These limitations do not apply to requests for admission directed to

the authentication of documents under Federal Rule of Evidence 901 or the business record

exception under Federal Rule of Evidence 803(6), subject to objections to undue burden.

               d.      Interrogatories. A maximum of 25 interrogatories, including contention

interrogatories, are permitted for each side.

               e.      Depositions.

                      i.       Limitation on Hours for Deposition Discovery of Fact Witnesses.

Each side is limited to a total of 100 hours of taking testimony by deposition upon oral

examination. Individual depositions, including Rule 30(b)(6) depositions, are limited to seven (7)

hours. For clarity, the hours limitations described in this paragraph do not apply to expert

witnesses.

                     ii.       Location of Depositions. Any party or representative (officer,

director, managing agent, or 30(b)(6) designee) of a party filing a civil action in this district must

ordinarily be required, upon request, to submit to a deposition at a place designated within this

district. Exceptions to this general rule may be made by order of the Court or by agreement of

the parties.   A defendant who becomes a cross-claimant or third-party plaintiff shall be

considered as having filed an action in this Court for the purposes of this provision.

                    iii.       Remote Depositions. Should it become infeasible to conduct in-

person depositions of a fact or expert witness due to safety, personal health, and/or public health

concerns, (e.g., as resulting from a pandemic or other such emergency), the party offering the

witness for deposition shall make the witness available for remote deposition via

videoconference. The parties shall meet and confer 30 days in advance of, or as soon as possible




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following notice of, any remote deposition to determine the procedures by which the deposition

shall be conducted.

                 f.         Discovery Matters and Disputes Relating to Protective Orders. Should

counsel find they are unable to resolve a discovery matter or a dispute relating to a protective

order, the parties involved in the discovery matter or protective order dispute shall contact the

Court’s Case Manager to schedule an in-person conference/argument. Unless otherwise ordered,

by no later than seven business days prior to the conference/argument, any party seeking relief

shall file with the Court a letter, not to exceed three pages, outlining the issues in dispute and its

position on those issues. By no later than five business days prior to the conference/argument,

any party opposing the application for relief may file a letter, not to exceed three pages, outlining

that party’s opposition. A party should include with its letter a proposed order with a detailed

issue-by-issue ruling such that, should the Court agree with the party on a particular issue, the

Court could sign the proposed order as to that issue, and the opposing party would be able to

understand what it needs to do, and by when, to comply with the Court’s order. Any proposed

order    shall        be        e-mailed,   in   Word        format,   simultaneously    with    filing   to

rga_civil@ded.uscourts.gov.

        If a discovery-related motion is filed without leave of the Court, it will be denied without

prejudice to the moving party’s right to bring the dispute to the Court through the discovery

matters procedures set forth in this Order.

                 g.         Miscellaneous Discovery Matters.

                           i.          Unless otherwise agreed to by the parties or as set forth herein, the

parties agree to follow the Court’s Default Standard. The parties agree to the timetable for initial

patent disclosures as set forth in the chart attached as Exhibit A.




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                     ii.       The parties agree to modify the Default Standard such that:

Paragraph 3 disclosures will be due on August 31, 2020; Paragraph 4(a) obligations will be due

on August 31, 2020; Paragraph 4(b) obligations concerning the production of Defendant’s core

technical documents will be due on September 11, 2020; Paragraph 4(c) obligations will be due

on October 16, 2020; and Paragraph 4(d) obligations will be due on November 13, 2020.

                    iii.       The parties agree to reasonably cooperate to arrive at an agreed

upon list of metadata fields, not to exceed the list of fields identified in Paragraph 5(e).

                     iv.       On March 30, 2020, Liquidia filed petitions to institute Inter

Partes Review proceedings with respect to both U.S. Patent No. 9,593,066, and U.S. Patent No.

9,604,901. Plaintiff does not yet have a comprehensive understanding of Defendant’s accused

NDA product, and therefore cannot advise whether it expects to institute any further litigation

within the next year. As Plaintiff’s U.S. Patent No. 10,716,793 issued on July 21, 2020,

Defendant does not yet have a comprehensive understanding of Plaintiff’s claims regarding the

ʼ793 patent, and therefore cannot advise whether it expects to file any further Inter Partes

Review proceedings concerning the ʼ793 patent within the next year.

                     v.        Narrowing of the Asserted Claims and Prior Art References. The

parties shall meet and confer regarding asserted claims and prior art narrowing, including limits

on the number of Plaintiff’s asserted claims and Defendant’s asserted prior art references or

combinations and any other relevant issue. The parties shall raise any unresolved issues with the

Court pursuant to the provisions of Paragraph 3(f), above, so as to be resolved sufficiently ahead

of each deadline set forth below.

                     vi.       Within twenty-one days of the Court’s Order on claim

construction, or if no claim construction is requested, on July 1, 2021, Plaintiff shall serve an




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election of asserted claims, not to exceed a limit agreed upon by the parties or ordered by the

Court.

         4.     Application to Court for Protective Order. Should counsel find it will be

necessary to apply to the Court for a protective order specifying terms and conditions for the

disclosure of confidential information, counsel should confer and attempt to reach an agreement

on a proposed form of order and submit it to the Court within ten days from the date of this

Order. Should counsel be unable to reach an agreement on a proposed form of order, counsel

must follow the provisions of Paragraph 3(f) above.

         Any proposed protective order must include the following paragraph:

                Other Proceedings. By entering this order and limiting the
                disclosure of information in this case, the Court does not intend to
                preclude another court from finding that information may be
                relevant and subject to disclosure in another case. Any person or
                party subject to this order who becomes subject to a motion to
                disclose another party's information designated as confidential
                pursuant to this order shall promptly notify that party of the motion
                so that the party may have an opportunity to appear and be heard
                on whether that information should be disclosed.

         5.     Papers Filed Under Seal. When filing papers under seal, counsel shall deliver to

the Clerk the required number of copies as directed in paragraph 6. A redacted version of any

sealed document shall be filed electronically within seven days of the filing of the sealed

document.

         6.     Courtesy Copies. The parties shall provide to the Court two courtesy copies of all

briefs and one courtesy copy of any other document filed in support of any briefs (i.e.,

appendices, exhibits, declarations, affidavits etc.). This provision also applies to papers filed

under seal.

         7.     Claim Construction Issue Identification. On or before December 4, 2020, the

parties shall exchange a list of those claim term(s)/phrase(s) that they believe need construction;


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on or before December 18, 2020, the parties shall exchange their proposed claim construction of

those term(s)/phrase(s). These documents will not be filed with the Court. Subsequent to

exchanging those lists, the parties will meet and confer to prepare a Joint Claim Construction

Chart to be filed no later than January 8, 2021. The Joint Claim Construction Chart, in Word

format shall be e-mailed simultaneously with filing to rga_civil@ded.uscourts.gov. The parties’

Joint Claim Construction Chart should identify for the Court the term(s)/phrase(s) of the claim(s)

in issue, and should include each party’s proposed construction of the disputed claim language

with citation(s) only to the intrinsic evidence in support of their respective proposed

constructions. A copy of the patent(s) in issue as well as those portions of the intrinsic record

relied upon shall be submitted with this Joint Claim Construction Chart. In this joint submission,

the parties shall not provide argument.

       8.      Claim Construction Briefing.1 Plaintiff shall serve, but not file, its opening brief,

not to exceed 5,000 words, on February 5, 2021. Defendant shall serve, but not file, its

answering brief, not to exceed 7,500 words, on March 5, 2021. Plaintiff shall serve, but not file,

its reply brief, not to exceed 5,000 words, on April 2, 2021. Defendant shall serve, but not file

its sur-reply brief, not to exceed 2,500 words, on April 23, 2021. No later than April 30, 2021,

the parties shall file a Joint Claim Construction Brief. The parties shall copy and paste their

unfiled briefs into one brief, with their positions on each claim term in sequential order, in

substantially the form below.

1
  As each brief is written and provided to the opposing party, the individual responsible for
verifying the word count will represent to the other party that it has so verified and by what
means. These verifications should not be provided to the Court unless a dispute arises about
them. Pictures, Figures copied from the patent, and other illustrations do not count against the
word limit. Plaintiff should include with its opening brief one or more representative claims with
the disputed terms italicized. Should Defendant want to add additional representative claims,
Defendant may do so. The representative claims and the agreed-upon claim constructions do not
count against the word limits.


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                          JOINT CLAIM CONSTRUCTION BRIEF

       I. Representative Claims

       II. Agreed-upon Constructions

       III. Disputed Constructions

       A. [TERM 1]

               1. Plaintiff's Opening Position

               2. Defendant's Answering Position

               3. Plaintiff's Reply Position

               4. Defendant's Sur-Reply Position

       B. [TERM 2]

               1. Plaintiff's Opening Position

               2. Defendant's Answering Position

               3. Plaintiff's Reply Position

               4. Defendant's Sur-Reply Position

Etc. The parties need not include any general summaries of the law relating to claim

construction. If there are any materials that would be submitted in an appendix, the parties shall

submit them in a Joint Appendix.

       9.      Hearing on Claim Construction. Beginning at 9:00 a.m. on May 24, 2021, the

Court will hear argument on claim construction. Absent prior approval of the Court (which, if it

is sought, must be done so by joint letter submission no later than the date on which answering

claim construction briefs are due), the parties shall not present testimony at the argument, and the

argument shall not exceed a total of three hours. When the Joint Claim Construction Brief is

filed, the parties shall simultaneously file a motion requesting the above scheduled claim




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construction hearing, state that the briefing is complete, and state how much total time the parties

are requesting that the Court should allow for the argument.

       10.     Disclosure of Expert Testimony.

               a.      Expert Reports. For the party who has the initial burden of proof on the

subject matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or before

October 15, 2021. The supplemental disclosure to contradict or rebut evidence on the same

matter identified by another party is due on or before November 12, 2021. Reply expert reports

from the party with the initial burden of proof are due on or before December 10, 2021. No other

expert reports will be permitted without either the consent of all parties or leave of the Court. If

any party believes that an expert report does not comply with the rules relating to timely

disclosure or exceeds the scope of what is permitted in that expert report, the complaining party

must notify the offending party within one week of the submission of the expert report. The

parties are expected to promptly try to resolve any such disputes, and, when they cannot

reasonably be resolved, use the Court's Discovery Dispute Procedure or the complaint will be

waived.

       Along with the submissions of the expert reports, the parties shall advise of the dates and

times of their experts' availability for deposition. Depositions of experts shall be completed on or

before January 14, 2022.

               b.      Objections to Expert Testimony. To the extent any objection to expert

testimony is made pursuant to the principles announced in Daubert v. Merrell Dow Pharm., Inc. ,

509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it shall be made in the

parties’ pre-trial submissions. The parties will meet and confer within 5 days of the close of

expert discovery to address Daubert issues, if any, and proposed letter briefing schedule. The




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Daubert request and any response shall contain the authorities relied upon; each Daubert request

may be supported by a maximum of three pages of argument and may be opposed by a

maximum of three pages of argument, and the party making the Daubert request may add a

maximum of one additional page in reply in support of its request.

         11.   Case Dispositive Motions. No case dispositive motions shall be filed without

leave of Court. The parties may file a request for leave of the Court to file any case dispositive

motion(s) under Rule 56 no later than November 2, 2021.

         12.   Applications by Motion. Except as otherwise specified herein, any application to

the Court shall be by written motion. Any non-dispositive motion should contain the statement

required by Local Rule 7 .1.1.

         13.   Pretrial Conference. On March 4, 2022, the Court will hold a Rule 16(e) final

pretrial conference in Court with counsel beginning at 9:00 a.m. The parties shall file a joint

proposed final pretrial order in compliance with Local Rule 16.3(c) no later than 5:00 p.m. on

February 28, 2022. Unless otherwise ordered by the Court, the parties shall comply with the

timeframes set forth in Local Rule 16.3(d) for the preparation of the proposed joint final pretrial

order.

         14.   Motions in Limine. Motions in limine shall be separately filed, with each motion

containing all the argument described below in one filing for each motion. The parties will meet

and confer within 5 days of the close of expert discovery to address in limine issues, if any, and

proposed letter briefing schedule. Any supporting documents in connection with a motion in

limine shall be filed in one filing separate from the motion in limine. Each party shall be limited

to three in limine requests, unless otherwise permitted by the Court. The in limine request and

any response shall contain the authorities relied upon; each in limine request may be supported




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by a maximum of three pages of argument and may be opposed by a maximum of three pages of

argument, and the party making the in limine request may add a maximum of one additional page

in reply in support of its request. If more than one party is supporting or opposing an in limine

request, such support or opposition shall be combined in a single three page submission (and, if

the moving party, a single one page reply). No separate briefing shall be submitted on in limine

requests, unless otherwise permitted by the Court.

        15.     Trial. This matter is scheduled for a three-day bench trial with trial days from

8:30 to 5:00, commencing on March 28, 2022, subject to the Court’s availability. The trial will

be timed, as counsel will be allocated a total of ten and one half (10½) hours in which to present

their respective cases.

        16.     ADR Process. This matter is referred to a magistrate judge to explore the

possibility of alternative dispute resolution. This matter is referred to a magistrate judge to

handle all discovery disputes including any that arise in connection with expert reports.

       17.      Electronic Service. Pursuant to Federal Rule of Civil Procedure 5(b)(2)(E), the

parties agree to accept service by electronic means.




                                               /s/ Richard G. Andrews
                                              _______________________________
                                              UNITED STATES DISTRICT JUDGE




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                                            EXHIBIT A

                  EVENT                        PROPOSED SCHEDULE (DISPUTES IDENTIFIED)
Rule 26(a)(l) Initial Disclosures                          August 14, 2020
Deadline for Plaintiff’s’’ identification
of the accused product(s), patents-in-
suit, and production of file history of
                                                              August 31, 2020
each patent-in-suit pursuant to Delaware
Default Standard for Discovery
Paragraph 4(a)
Deadline to submit Protective Order         Within 10 days of the date the Court enters this Order
Deadline for initial disclosures pursuant
to Delaware Default Standard for                              August 31, 2020
Discovery Paragraph 3
Deadline for production of Defendant’s
core technical documents pursuant to
                                                            September 11, 2020
Delaware Default Standard for
Discovery Paragraph 4(b)
Deadline for Plaintiff’s disclosure of
asserted claims and initial infringement
contentions pursuant to Delaware                              October 16, 2020
Default Standard for Discovery
Paragraph 4(c)
Deadline for Defendant’s initial
invalidity contentions and production of
invalidity references pursuant to                           November 13, 2020
Delaware Default Standard for
Discovery Paragraph 4(d)
Deadline to simultaneously exchange a
list of claim term(s)/phrase(s) for                          December 4, 2020
construction
Deadline to simultaneously exchange
proposed constructions of identified                         December 18, 2020
term(s)/phrase(s)
Deadline to submit Joint Claim
                                                               January 8, 2021
Construction Chart
Deadline to serve Plaintiff’s Opening
                                                              February 5, 2021
Claim Construction Brief
Deadline to serve Defendant’s
                                                               March 5, 2021
Answering Claim Construction Brief
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Deadline to serve Plaintiff’s Reply
                                                               April 2, 2021
Claim Construction Brief
Deadline to serve Defendant’s Sur-
                                                               April 23, 2021
Reply Claim Construction Brief
Deadline to file Joint Claim
                                                               April 30, 2021
Construction Brief
Substantial Completion of Document
                                                               June 18, 2021
Production
Claim Construction Hearing                                     May 24, 2021
Plaintiff to serve Election of Asserted
                                             Within twenty-one (21) days of the Court’s order on
Claims, not to exceed a limit agreed
                                              claim construction, or if no claim construction is
upon by the parties or ordered by the
                                                         requested, on July 1, 2021
Court
Deadline for joinder of other parties and
                                                                June 4, 2021
amendment of pleadings
Deadline for completion of fact
                                                            September 17, 2021
discovery
Deadline for disclosure of expert
testimony for the party who has the
                                                              October 15, 2021
initial burden of proof on the subject
matter
Deadline for supplemental disclosure to
contradict or rebut evidence on the same
                                                            November 12, 2021
matter identified by another party
(Responsive expert reports)
Deadline for reply expert reports from
                                                            December 10, 2021
the party with the initial burden of proof
Deadline for parties to request leave of
Court to file summary judgment                               November 2, 2021
motion(s) under Rule 56
Deadline for completion of expert
                                                              January 14, 2022
discovery
Joint Proposed Final Pre-Trial Order                         February 28, 2022
Pretrial Conference                                            March 4 2022
Trial                                                         March 28, 2022
Expiration of 30-Month Stay                                   October 24, 2022




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